         Case 1:23-cv-00069-SWS Document 27 Filed 07/20/23 Page 1 of 2




                     IN THE UNITED STATES DISTRICT COUR^         '"* ">""$$K
                         FOR THE DISTRICT OF WYOMING     JlJi £q p, ' ?

ASHLEY WILLEY and
 SEAN WILLEY,

               Plaintiffs,

        VS.                                              Case No. 23-CV-069-SWS

 SWEETWATER COUNTY SCHOOL
 DISTRICT NO. 1 BOARD OF
TRUSTEES, KELLY MCGOVERN,
NICOLE BOLTON, KAYCI ARNOLDI,
and BRYANT BLAKE,

               Defendants,



       ORDER DENYING MOTION TO DISMISS WITHOUT PREJUDICE



       This matter comes before the Court on Defendants' Motion to Dismiss Pursuant to

Fed. R. Civ. P. 12(b)(1) and 12(b)(6) (ECF No. 23) (the "Motion to Dismiss") filed by

Defendants Sweetwater County School District No. 1 Board of Trustees, Kelly McGovern,

Nicole Bolton, Kayci Arnoldi, and Bryant Blake (collectively "Defendants"). Having

reviewed the motion and reviewed the record, the Court FINDS AND ORDERS as follows:

       1.     It is well established that an "amended complaint ordinarily supersedes the

original and renders [the original] of no legal effect."Davis v. TXO Prod. Corp., 929 F.2d

1515, 1517 (10th Cir. 1991). "Because the original complaint has been superseded and

nullified, there is no longer a live dispute about the propriety or merit ofthe claims asserted




                                         Page 1 of2
Case 1:23-cv-00069-SWS Document 27 Filed 07/20/23 Page 2 of 2
